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 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   DOUGLAS J. BEEVERS, USVI Bar #766
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   JAIRO ZAPIEN
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. 2:10-CR-00162 FCD
                                     )
12                  Plaintiff,       )
                                     )     DEFENDANT JAIRO ZAPIEN’S REQUEST
13        v.                         )     FOR EXPANDED APPOINTMENT ORDER;
                                     )     ORDER
14   JAIRO ZAPIEN,                   )
                                     )
15                  Defendant.       )     Judge: Hon. Frank C. Damrell, Jr.
                                     )
16   _______________________________ )
17        Pursuant to 18 U.S.C. § 3006A, the Office of the Federal Defender
18   was appointed by the duty magistrate to represent the defendant, JAIRO
19   ZAPIEN, on April 14, 2010.     Counsel undersigned has represented Mr.
20   Zapien since that time.
21        The defendant has received Notices of Forfeiture Proceedings from
22   the U.S. Drug Enforcement Administration regarding a 2004 Ford Explorer
23   with an estimated value of $6,500.      This vehicle was seized on April
24   14, 2010 pursuant to a search warrant which was authorized based on the
25   same affidavit which was used to provide probable cause for the
26   criminal complaint in the above case.       Mr. Zapien intends to contest
27   the forfeiture on the ground that the he is the owner of the Ford which
28   was not used for any drug activity. Defense counsel notes that the 80
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 1   page affidavit in support of the criminal complaint in instant case
 2   alleges that Jairo Zapien used a different vehicle to transport drugs.
 3         18 U.S.C. §3006A(c) states that appointed counsel’s representation
 4   should continue through every stage of the proceeding “including
 5   ancillary matters appropriate to the proceedings”.          18 U.S.C. §
 6   983(b)(1)(A) states:
 7               If a person with standing to contest the forfeiture of
                 property in a judicial civil forfeiture proceeding
 8               under a civil forfeiture statute is financially unable
                 to obtain representation by counsel, and the person is
 9               represented by counsel appointed under section 3006A
                 of this title [18 U.S.C. § 3006A] in connection with a
10               related criminal case, the court may authorize counsel
                 to represent that person with respect to the claim.
11
12   19 U.S.C. §983(b).
13         Accordingly, the defendant respectfully asks this Court to
14   authorize the Federal Defender Office to represent him in all civil
15   forfeiture proceedings related to this case, specifically including DEA
16   Administrative Case number R7-08-0041 asset ID number 10-DEA-531588.
17         Defendant is detained and only speaks Spanish, thus his ability to
18   handle this civil matter pro se is limited.         Responding to the civil
19   case will require careful assessment of the potential impact on the
20   much more serious criminal case.       Defense counsel has substantial
21   experience in civil litigation and with civil forfeiture and will be
22   able to assist the defendant in this ancillary matter without any
23   interference with the criminal case.
24   //
25   //
26   //
27   //
28   //


     Request for Expanded Appointment       -2-
              Case 2:10-cr-00162-DAD Document 85 Filed 06/25/10 Page 3 of 3


 1
 2   Dated:    June 23, 2010
                                               Respectfully submitted,
 3
                                               DANIEL J. BRODERICK
 4                                             Federal Defender
 5
                                               /s/ DOUGLAS J. BEEVERS
 6                                             ________________________________
                                               DOUGLAS J. BEEVERS
 7                                             Assistant Federal Defender
                                               Attorney for Defendant
 8                                             JAIRO ZAPIEN
 9
                                           O R D E R
10
           Pursuant to 18 U.S.C. § 3006A(c) and 18 U.S.C. §983(b)(1)(A), this
11
     Court approves the expansion of the order appointing counsel to
12
     represent JAIRO ZAPIEN to include representation in all civil
13
     forfeiture proceedings related to the pending criminal charges
14
     including DEA Administrative Case R7-08-0041 (asset ID:10-DEA-531588).
15
16   Dated: June 24, 2010
17
18
                                               FRANK C. DAMRELL, JR.
19                                             UNITED STATES DISTRICT JUDGE
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     Request for Expanded Appointment         -3-
